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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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VALENTIA VILLETTI and FAIZA JIBRIL, M.D., 18 Civ.
Plaintiffs,
- against - COMPLAINT
GUIDEPOINT GLOBAL, LLC, PLAINTIFFS DEMAND
TRIAL BY JURY IN
Defendant. THIS ACTION
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Plaintiffs Valentia Villetti (“Villetti”) and Faiza Jibril,
M.D. (“Jibril”), by their attorneys, Lichten & Bright, P.C.,
complain of defendant Guidepoint Global, LLC (“Guidepoint”), as

follows:

JURISDICTION AND VENUE
1. This is an action brought to remedy discrimination on the
basis of sex, and retaliation for protected activity, in violation
of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seg. (“Title
VII”), the New York State Human Rights Law, Executive Law § 290 et

seq. (“Human Rights Law”), and the Administrative Code of the City

of New York, § 8-101 et seg. (“Administrative Code”).
2. Jurisdiction of this Court is invoked pursuant to U.S.C.

§§ 1331, 1343(a) (4), and 1367, and 42 U.S.C. §§ 2000e-5(f) (3).

3. Declaratory and injunctive relief, damages, and other
appropriate legal and equitable relief are sought pursuant to 42
U.S.C. §§ 2000e-5(f), (g) (1), and (g) (2) (B) (i). Compensatory
damages are sought pursuant to 42 U.S.C. § 198la, Executive Law

§ 297(9), and Administrative Code § 8-502(a). Punitive damages are
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sought pursuant to 42 U.S.C. § 198la and Administrative Code
§ 502(a).

4. Costs and attorney fees are sought pursuant to 42 U.S.C.
§ 2000e-5(g) (2) (B) (i) and (k) and Administrative Code § 502(a).

5. Venue is proper in the Southern District of New York,
pursuant to 28 U.S.C. § 1391(b), because the unlawful employment
practices occurred within this judicial district.

6. Villetti and Jibril filed Charges of Discrimination
against defendant with the U.S. Equal Employment Opportunity
Commission (“EEOC”) on May 1, 2018, and July 9, 2018, respectively.
The EEOC, in documents received by Villetti and Jibril on or about
November 2, 2018, and August 23, 2018, respectively, issued
plaintiffs notices informing them of their right to sue defendant.
Plaintiffs have fully complied with all prerequisites to

jurisdiction in this Court under Title VII.

PARTIES
7. On September 11, 2017, Guidepoint hired Villetti as a
Senior Healthcare Content Strategist.
8. In December 2017, Guidepoint actively recruited Jibril for
the position of Healthcare Content Strategist.
9. Defendant provides its clients with experts in various
subject matter areas. Defendant’s principal place of business is

in New York, New York.
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FACTS

10. Throughout Villetti’s employment by Guidepoint, her work
performance was exemplary.

11. Guidepoint, however, compelled Villetti to work in a
hostile work environment permeated with sex discrimination and
harassment. Guidepoint treated women differently from men on a
variety of occasions.

12. For instance, Ashlee Dunston, Villetti's predecessor, was
dismissed just before the Christmas holidays for no reason, without
consultation with Dunston's staff, a step always taken when the
company was considering the discharge of male staff. Also,
Guidepoint demoted Jessica Kagin-Tropea, and reduced her seniority
and bonus, while she was on maternity leave.

13. In December 2017, Lateral Recruiter James Lukban
contacted Jibril to see if she would be interested in the position
of Healthcare Content Strategist. On January 22, 1018, after
several days of interviews and discussions, Lukban informed Jibril
that, “as a final step in the process,” Guidepoint wished to
conduct a reference check. Later that day, Jibril provided the
requested references.

14. Guidepoint designated Villetti and her supervisor,
Director of Content Strategy Bouker Pool, as the company's hiring
managers for the position of Healthcare Content Strategist, which
meant that Villetti and Pool possessed full and final authorization
to hire a candidate for the position. Villetti and Pool decided to

hire Jibril.
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15. Guidepoint Chief Executive Officer Albert Sebag, without
ever meeting Jibril, vetoed her hire. Guidepoint ultimately hired
a man for the position.

16. In a meeting on March 12, 2018, and in a memorandum dated
March 12, 2018, Villetti detailed her allegations of discrimination
to Director of Human Resources Priscilla Gulino. Villetti included
the company's failure to hire Jibril, who Villetti described as an
“extremely qualified female candidate,” following a “severe
personal intervention” by Sebag. Villetti stated that Guidepoint
refused to allow her to discuss or defend the choice of Jibril.

17. On March 16, 2018, Pool filed a formal, written complaint
pursuant to the “Non-Discrimination and Harassment Policy” found in
the Guidepoint Employee Handbook.

18. On March 18, 2018, Guidepoint dismissed Villetti and

Pool, effective March 19, 2018.

FIRST CAUSE OF ACTION

19. Defendant discharged Villetti because of her sex. By its
acts and practices described above, defendant has violated Title
VII.

20. As a result of defendant’s discriminatory acts, Villetti
has suffered and will continue to suffer injury unless and until
this Court grants relief. Defendant engaged in these
discriminatory practices with malice and with reckless indifference

to Villetti’s rights protected under federal law.
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SECOND CAUSE OF ACTION

21. Defendant discharged Villetti because of her sex. By its
acts and practices described above, defendant has violated the
Human Rights Law.

22. As a result of defendant’s discriminatory acts, Villetti
has suffered and will continue to suffer monetary damages and
damages for mental anguish and humiliation unless and until this
Court grants relief. Defendant willfully and maliciously engaged

in these discriminatory practices.

THIRD CAUSE OF ACTION

23. Defendant discharged Villetti because of her sex. By its
acts and practices described above, defendant has violated the
Administrative Code.

24. As a result of defendant’s discriminatory acts, Villetti
has suffered and will continue to suffer monetary damages and
damages for mental anguish and humiliation unless and until this
Court grants relief. Defendant willfully and maliciously engaged

in these retaliatory practices.

FOURTH CAUSE OF ACTION
25. Defendant discharged Villetti because she opposed actions
prohibited by Title VII. By its acts and practices described
above, defendant has violated Title VII.
26. As a result of defendant’s retaliatory acts, Villetti has

suffered and will continue to suffer injury unless and until this
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Court grants relief. Defendant engaged in these retaliatory
practices with malice and with reckless indifference to Villetti’s

rights protected under federal law.

FIFTH CAUSE OF ACTION
27. Defendant discharged Villetti because she had opposed
actions prohibited by the Human Rights Law. By its acts and
practices described above, defendant has violated the Human Rights

Law.

28. As a result of defendant’s retaliatory acts, Villetti has
suffered and will continue to suffer monetary damages and damages
for mental anguish and humiliation unless and until this Court
grants relief. Defendant willfully and maliciously engaged in

these retaliatory practices.

SIXTH CAUSE OF ACTION

29 Defendant discharged Villetti because she had opposed
actions prohibited by the Administrative Code. By its acts and
practices described above, defendant has violated the
Administrative Code.

30. As a result of defendant’s retaliatory acts, Villetti has
suffered and will continue to suffer monetary damages and damages
for mental anguish and humiliation unless and until this Court
grants relief. Defendant willfully and maliciously engaged in

these retaliatory practices.
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SEVENTH CAUSE OF ACTION

31. Defendant did not hire Jibril because of her sex. By its
acts and practices described above, defendant has violated Title
VII.

32. As a result of defendant’s discriminatory acts, Jibril
has suffered and will continue to suffer injury unless and until
this Court grants relief. Defendant engaged in these
discriminatory practices with malice and with reckless indifference

to plaintiff’s rights protected under federal law.

EIGHTH CAUSE OF ACTION

33. Defendant did not hire Jibril because of her sex. By its
acts and practices described above, defendant has violated the
Human Rights Law.

34, As a result of defendant’s discriminatory acts, Jibril
has suffered and will continue to suffer monetary damages and
damages for mental anguish and humiliation unless and until this
Court grants relief. Defendant willfully and maliciously engaged

in these discriminatory practices.

NINTH CAUSE OF ACTION
35. Defendant did not hire Jibril because of her sex. By its
acts and practices described above, defendant has violated the
Administrative Code.
36. As a result of defendant’s discriminatory acts, Jibril

has suffered and will continue to suffer monetary damages and
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damages for mental anguish and humiliation unless and until this
Court grants relief. Defendant willfully and maliciously engaged

in these retaliatory practices.

WHEREFORE, plaintiffs respectfully request that this Court

enter a judgment:

ON THE FIRST, FOURTH, AND SEVENTH CAUSES OF ACTION

(a) declaring that the acts and practices complained of
herein are in violation of Title VII;

(b) enjoining and permanently restraining these violations of
Title VII;

(c) directing defendant to take such affirmative action as is
necessary to ensure that the effects of these unlawful employment
practices are eliminated and do not continue to affect plaintiffs'
employment opportunities;

(d) directing defendant to place plaintiffs in the position
they would have continued to occupy but for defendant’s
discriminatory and retaliatory treatment of them, and make them
whole for all earnings they would have received but for defendant’s
discriminatory and retaliatory treatment, including but not limited
to wages, bonuses, pensions, and other lost benefits;

(e) directing defendant to pay plaintiffs compensatory and
punitive damages and damages for their mental anguish and

humiliation;
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(f£) awarding plaintiffs reasonable attorney fees and the
costs of this action;
(g) granting such other and further relief as this Court

deems just and proper;

ON THE SECOND, FIFTH, AND EIGHTH CAUSES OF ACTION
(h) awarding compensatory damages in an amount not yet

ascertained;

ON THE THIRD, SIXTH, AND NINTH CAUSES OF ACTION
(i) awarding compensatory and punitive damages in an amount
not yet ascertained; and
(9) awarding plaintiffs reasonable attorney fees and the

costs of this action.

DEMAND FOR A TRIAL BY JURY
Pursuant to Rule 38(b) of the Federal Rules of Civil
Procedure, plaintiffs demand a trial by jury on all of the causes

of action herein.

Dated: New York, New York
November 5, 2018

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